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&lt;P&gt;&lt;SPAN STYLE="font-family: Univers" STYLE="font-size: 14pt"&gt;&lt;CENTER&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;NUMBER 13-05-448-CV&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

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&lt;P&gt;&lt;SPAN STYLE="font-family: Univers" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Univers" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;COURT OF APPEALS&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;THIRTEENTH DISTRICT OF TEXAS&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;CORPUS CHRISTI - EDINBURG &lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Univers"&gt;&lt;/CENTER&gt; 

&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;RUBEN LUNA, III AND&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;JORGE LUIS HERNANDEZ,						Appellants,&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;HOTTIE'S GRILL &amp;amp; BAR,&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;INC., D/B/A KOOLY'S,							 &nbsp;&nbsp;Appellee.&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;CENTER&gt;&lt;/CENTER&gt; 

&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;CENTER&gt;&lt;STRONG&gt;On appeal from the 206th District Court of Hidalgo County, Texas.&lt;/STRONG&gt;&lt;/CENTER&gt; 

&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;MEMORANDUM OPINION&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;CENTER&gt;&lt;STRONG&gt;Before Justices Hinojosa, Ya&amp;ntilde;ez, and Castillo&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;STRONG&gt;&lt;CENTER&gt;Memorandum Opinion by Justice Ya&amp;ntilde;ez&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;/CENTER&gt; 

&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;	The sole issue in this appeal is whether Ruben Luna III and Jorge Luis Hernandez's 

negligence claim against appellee, Hotties Grill &amp;amp; Bar, Inc. d/b/a Kooly's, is barred by the 

statute of limitations. &nbsp;The trial court granted summary judgment for appellee. &nbsp;Appellants, 

Luna and Hernandez, contend that the trial court erred in granting appellee's motion for 

summary judgment. &nbsp;We affirm the trial court's judgment.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;	On August 4, 2000, appellants were shot and injured while working as security 

personnel ("bouncers") at Club Liquid in McAllen, Texas. &nbsp;On August 2, 2002, appellants 

sued Liquid, Inc. d/b/a Club Liquid ("Liquid") and Ricardo Roux ("Roux") for negligence.&lt;A HREF="#N_1_"&gt;&lt;SUP&gt; (1)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: '"&gt; &nbsp;

On May 13, 2004, Liquid and Roux, after earlier obtaining leave of court, filed a third-party 

petition against appellee, asserting they were entitled to contribution and indemnity.&lt;A HREF="#N_2_"&gt;&lt;SUP&gt; (2)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;

Shortly thereafter, on June 3, 2004, appellants amended their pleadings to include 

appellee as a defendant. &nbsp;Appellee moved for summary judgment on the sole ground that 

appellants' negligence claim was barred by the two-year statute of limitations.&lt;A HREF="#N_3_"&gt;&lt;SUP&gt; (3)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;The trial 

court granted summary judgment for appellee. &nbsp;This appeal followed.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	The standards for reviewing a traditional summary judgment are well established.&lt;A HREF="#N_4_"&gt;&lt;SUP&gt; (4)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;

The party moving for summary judgment has the burden of showing that no genuine issue 

of material fact exists and that it is entitled to judgment as a matter of law.&lt;A HREF="#N_5_"&gt;&lt;SUP&gt; (5)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;When a 

defendant moves for summary judgment based on an affirmative defense, such as the 

statute of limitations, the defendant bears the burden of proving each essential element 

of that defense.&lt;A HREF="#N_6_"&gt;&lt;SUP&gt; (6)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Once the defendant establishes its right to summary judgment as a 

matter of law, the burden shifts to the plaintiff to present evidence raising a genuine issue 

of material fact, thereby precluding summary judgment.&lt;A HREF="#N_7_"&gt;&lt;SUP&gt; (7)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;A nonmovant need not answer 

or respond to a motion for summary judgment to contend on appeal that the grounds 

expressly presented by the movant's motion are insufficient as a matter of law to support 

summary judgment. &nbsp;However, the nonmovant may not raise any other issues as grounds 

for reversal.&lt;A HREF="#N_8_"&gt;&lt;SUP&gt; (8)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	Appellee filed its motion for summary judgment, contending appellants' claim was 

barred by the two-year statute of limitations because it was filed approximately three years 

and ten months after the day the cause of action accrued.&lt;A HREF="#N_9_"&gt;&lt;SUP&gt; (9)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;The pleadings on file establish 

appellee's contention. &nbsp;Therefore, appellants, as the nonmovants, were required to come 

forward with evidence to raise a fact issue as to whether the statute of limitations should 

apply.&lt;A HREF="#N_10_"&gt;&lt;SUP&gt; (10)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	In their response to appellee's motion for summary judgment, appellants argued that 

suit was timely filed in accordance with section 33.004(e) of the civil practice and remedies 

code.&lt;A HREF="#N_11_"&gt;&lt;SUP&gt; (11)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Section 33.004(e) provides: &nbsp;"A claimant may join a responsible third party, even 

though such joinder would otherwise be barred by limitations, if the claimant seeks to join 

the responsible third party not later than 60 days after a third party claim is filed under 

Subsection (d)."&lt;A HREF="#N_12_"&gt;&lt;SUP&gt; (12)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Appellants asserted that their claim was timely under this section 

because they added appellee as a defendant within sixty days of Liquid and Roux's third 

party claim against appellee.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	Appellee, however, preempted this argument in its summary judgment motion, 

asserting that section 33.004(e) could only apply if appellants complied with subsection (d). &nbsp;

The basis for this argument is that subsection (e) specifies that a claimant may join a 

responsible third party if "a third party claim is filed under Subsection (d)."&lt;A HREF="#N_13_"&gt;&lt;SUP&gt; (13)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: &nbsp;"&gt; &nbsp;Section 

33.004(d) provides: &nbsp;"A third party claim by a defendant under this section may be filed, 

even though the claimant's action against the responsible third party would be barred by 

limitations, if the third party claim is filed on or before 30 days after the date the 

defendant's answer is required to be filed."&lt;A HREF="#N_14_"&gt;&lt;SUP&gt; (14)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Appellee proved that a third party claim was 

not "filed on or before 30 days after the defendant's answer [was] required to be filed."&lt;A HREF="#N_15_"&gt;&lt;SUP&gt; (15)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;

Accordingly, because subsection (d) was not properly complied with, appellee contends 

that no third party claim has been "filed under Subsection (d)" as required by subsection 

(e).&lt;A HREF="#N_16_"&gt;&lt;SUP&gt; (16)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Appellants assert, however, that appellee's 33.004(d) argument raises the issue of 

improper joinder, not limitations. &nbsp;Therefore, because summary judgment was granted 

solely on the basis of limitations, the only issue that should be considered is whether 

appellants complied with section 33.004(e). &nbsp;We disagree with this contention.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	Though subsection (d) concerns joinder, it warrants consideration on the limitations 

question before us. &nbsp;Appellants requested the trial court to consider section 33.004(e) as 

a defense to the running of the two-year statute of limitations; subsection (e) in turn 

directed the court to further examine the rules laid out in subsection (d) to fully determine 

if appellants had a viable defense. &nbsp;Accordingly, the trial court was free to consider section 

33.004(d) in deciding whether the statute of limitations had run on appellants' claim against 

appellee.&lt;A HREF="#N_17_"&gt;&lt;SUP&gt; (17)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: -"&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	Appellants further contend, however, that if consideration is given to section 

33.004(d), it must be read together with Texas Rule of Civil Procedure 38(a), which 

discusses when a defendant may bring in a third party.&lt;A HREF="#N_18_"&gt;&lt;SUP&gt; (18)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Rule 38(a) states:&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	At any time after commencement of the action a defending party, as a third-party plaintiff, may cause a citation and petition to be served upon a person 

not a party to the action who is or may be liable to him or to the plaintiff for 

all or part of the plaintiff's claim against him. &nbsp;The third-party plaintiff need not 

obtain leave to make the service if he files the third-party petition not later 

than thirty (30) days after he serves his original answer. &nbsp;Otherwise, he must 

obtain leave on motion upon notice to all parties to the action.&lt;A HREF="#N_19_"&gt;&lt;SUP&gt; (19)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Appellants assert that rule 38(a) allows a defendant to join a responsible third party under 

33.004(d), despite not having done so within thirty days after the day the defendant's 

answer was due, so long as leave of court is granted. &nbsp;Therefore, since Liquid and Roux 

were granted leave of court, appellee was properly joined under subsection (d).&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	We believe that rule 38(a) is inapplicable to section 33.004. &nbsp;Section 33.004(b) 

states that "[n]othing in this section shall affect the third-party practice as previously 

recognized in the rules and statutes of this state with regard to the assertion by a 

defendant of rights to contribution or indemnity."&lt;A HREF="#N_20_"&gt;&lt;SUP&gt; (20)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: "&gt; &nbsp;Section 33.004(b) thus "makes clear 

that the procedures outlined in Texas Rule of Civil Procedure 38 for the joinder of third 

party defendants are neither added to nor diminished by section 33.004's requirements for 

the joinder of responsible third parties."&lt;A HREF="#N_21_"&gt;&lt;SUP&gt; (21)&lt;/SUP&gt;&lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: &nbsp;"&gt; &nbsp;We overrule appellants' point of error.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: "&gt;	Accordingly, we affirm the trial court's judgment.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Univers Regular"&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Univers Regular"&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&lt;SPAN STYLE="text-decoration: underline"&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&lt;/SPAN&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Univers Regular"&gt;							&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;LINDA REYNA YA&amp;Ntilde;EZ,&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;							Justice&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Memorandum opinion delivered and filed &lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Arial"&gt;this the 7th day of December, 2006.&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;	 

&lt;P&gt;&lt;A NAME="N_1_"&gt;1. &lt;/A&gt;In their original petition, appellants asserted that Ricardo Roux was the sole shareholder of Liquid, 

Inc. and requested the trial court to disregard the corporate fiction of Liquid, Inc. and hold Roux jointly and 

severally liable for appellants' damages. 

&lt;P&gt;&lt;A NAME="N_2_"&gt;2. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Liquid and Roux assert that immediately prior to the shooting, appellee served the shooter alcohol 

to the point where he presented a danger to himself and to others. 

&lt;P&gt;&lt;A NAME="N_3_"&gt;3. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;16.003(a) (Vernon 1998). 

&lt;P&gt;&lt;A NAME="N_4_"&gt;4. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;See &lt;/EM&gt;Tex. R. Civ. P. 166a(c); &lt;EM&gt;Nixon v. Mr. Prop. Mgmt. Co.&lt;/EM&gt;, 690 S.W.2d 546, 548-49 (Tex. 1985). 

&lt;P&gt;&lt;A NAME="N_5_"&gt;5. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. R. Civ. P. 166a(c); &lt;EM&gt;Nixon&lt;/EM&gt;, 690 S.W.2d at 548. 

&lt;P&gt;&lt;A NAME="N_6_"&gt;6. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;See City of Houston v. Clear Creek Basin Auth.&lt;/EM&gt;, 589 S.W.2d 671, 678 (Tex. 1979); &lt;EM&gt;Swilley v. 

Hughes&lt;/EM&gt;, 488 S.W.2d 64, 67 (Tex. 1972). 

&lt;P&gt;&lt;A NAME="N_7_"&gt;7. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;City of Houston&lt;/EM&gt;, 589 S.W.2d at 678. 

&lt;P&gt;&lt;A NAME="N_8_"&gt;8. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;See id&lt;/EM&gt;. 

&lt;P&gt;&lt;A NAME="N_9_"&gt;9. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;16.003(a) (Vernon 1998). 

&lt;P&gt;&lt;A NAME="N_10_"&gt;10. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;See City of Houston&lt;/EM&gt;, 589 S.W.2d at 678. 

&lt;P&gt;&lt;A NAME="N_11_"&gt;11. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;33.004 (Vernon 1997). &nbsp;The present case was filed before the 

effective date of the most recent amendments to section 33.004. &nbsp;The version of Chapter 33 of the Texas Civil 

Practice and Remedies Code in effect at the time appellants initially filed suit is found in the prior version of 

the statute. &nbsp;&lt;EM&gt;See &lt;/EM&gt;Act of May 8, 1995, 74th Leg., R.S., ch. 136, &nbsp;1, secs. 33.001-33.017, 1995 Tex. Gen. Laws 

971, 972-75 (amended 2003) (current version at Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;33.001-33.017 (Vernon 

1997 &amp;amp; Supp. 2006)). &nbsp;All references to Chapter 33 in this opinion are to the prior version of the Act. 

&lt;P&gt;&lt;A NAME="N_12_"&gt;12. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;33.004(e) (Vernon 1997). 

&lt;P&gt;&lt;A NAME="N_13_"&gt;13. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;Id.&lt;/EM&gt; 

&lt;P&gt;&lt;A NAME="N_14_"&gt;14. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;33.004(d) (Vernon 1997). 

&lt;P&gt;&lt;A NAME="N_15_"&gt;15. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;Id.&lt;/EM&gt; &nbsp;Liquid and Roux were served with citation on October 10, 2002, and had until Monday, 

November 4, 2002, to answer. &nbsp;The thirty-day period for Liquid and Roux to file a third party claim under 

section 33.004(d) expired on December 4, 2002. &nbsp;Their third-party petition against appellee was filed on May 

13, 2004. 

&lt;P&gt;&lt;A NAME="N_16_"&gt;16. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;33.004(e) (Vernon 1997). 

&lt;P&gt;&lt;A NAME="N_17_"&gt;17. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;The Fifth Court of Appeals, albeit in an unpublished opinion, has ruled similarly as we now do here. &nbsp;

&lt;EM&gt;Beckham v. DePaula&lt;/EM&gt;, No. 05-00-01230-CV, 2001 Tex. App. LEXIS 4855 (Tex. App.-Dallas July 24, 2001, 

no pet.) (not designated for publication). 

&lt;P&gt;&lt;A NAME="N_18_"&gt;18. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. R. Civ. P. 38(a). 

&lt;P&gt;&lt;A NAME="N_19_"&gt;19. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;&lt;EM&gt;Id.&lt;/EM&gt; 

&lt;P&gt;&lt;A NAME="N_20_"&gt;20. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Tex. Civ. Prac. &amp;amp; Rem. Code Ann. &nbsp;33.004(b) (Vernon 1997). 

&lt;P&gt;&lt;A NAME="N_21_"&gt;21. &lt;/A&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Arial"&gt;Gregory J. Lensing, &lt;EM&gt;Proportionate Responsibility and Contribution Before and After the Tort Reform 

of 2003&lt;/EM&gt;, 35 Tex. Tech. L. Rev. 1125, 1194 (2004). &nbsp;Lensing further notes that "the legislature left section 

33.004(b) untouched in the 2003 amendments, further suggesting a legislative intent merely to clarify that true 

third party practice under Rule 38 is completely separate and distinct from responsible-third-party practice 

under 33.004." &nbsp;&lt;EM&gt;Id.&lt;/EM&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

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